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              13                          UNITED STATES DISTRICT COURT
              14                        CENTRAL DISTRICT OF CALIFORNIA
              15
              16 UNITED STATES OF AMERICA ex rel.             CASE NO. 2:16-cv-08697-MWF(SSx)
                 BENJAMIN POEHLING,
              17                                              STATEMENT OF RECENT
              18                     Plaintiff,               DECISION

              19            v.
                                                              Date: September 17, 2018
              20 UNITEDHEALTH GROUP, INC. et al.,             Time: 10:00 a.m.
                                                              Courtroom: 5A
              21                                              Judge: Hon. Michael W. Fitzgerald
                                     Defendants.
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                                                                        STATEMENT OF RECENT DECISION
ATTORNEYS AT LAW
  LOS ANGELES                                                              Case No. 2:16-cv-08697-MWF(SSx)
      Case 2:16-cv-08697-MWF-SS Document 280 Filed 09/07/18 Page 2 of 3 Page ID #:5789


                   1        UnitedHealth Group Incorporated and the other Defendants in this suit
                   2 (collectively “United”) respectfully submit this Statement of Recent Decision to
                   3 alert the Court to the decision issued today in UnitedHealthcare Insurance Co. v.
                   4 Azar, No. 1:16-cv-00157 (D.D.C. Sept. 7, 2018), attached hereto as Exhibit 1.
                   5        As this Court is aware, that case concerns the validity of an administrative
                   6 rule adopted by the Centers for Medicare and Medicaid Services in 2014 that
                   7 purported to establish that a Medicare Advantage plan is overpaid every time it
                   8 receives payment on the basis of a diagnosis code that is not adequately supported
                   9 by a medical chart. In today’s decision, the United States District Court for the
              10 District of Columbia “concludes that the 2014 Final Rule violates the statutory
              11 mandate of ‘actuarial equivalence’ and constitutes a departure from prior policy
              12 that the government fails adequately to explain.” Ex. 1 at 2. The Court therefore
              13 “grant[s] summary judgment to the Medicare Advantage insurers and vacate[s] the
              14 Rule.” Id.
              15            The Azar decision is relevant to arguments addressed in several motions
              16 currently pending in this case, including but not limited to the arguments addressed
              17 at:
              18                • Pages 15-18 and 22-24 of Plaintiff’s Memorandum of Points and
                                  Authorities in Support of Motion for Partial Summary Judgment,
              19                  ECF No. 234-1;
              20
                                • Pages 20-29, 33-36, and 49 of United’s Opposition to Plaintiffs’
              21                  Motion for Partial Summary Judgment, ECF No. 250;
              22                • Pages 11-20, 22-23, and 25-43 of United States’ and Relator
              23                  Poehling’s Reply Memorandum of Points and Authorities In Support
                                  of Joint Motion for Partial Summary Judgment, ECF No. 272;
              24
              25                • Pages 7-11 of Plaintiffs’ Memorandum of Points and Authorities in
                                  Support of Joint Motion Pursuant to Rule 16(b)(3) for Issuance of
              26                  Scheduling Order Modifying Extent of Discovery, ECF No. 261-1;
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                                                                            STATEMENT OF RECENT DECISION
ATTORNEYS AT LAW
  LOS ANGELES                                                  1               Case No. 2:16-cv-08697-MWF(SSx)
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                   1               • Pages 9-11 of United’s Opposition to Plaintiffs’ Joint Motion
                   2                 Pursuant to Rule 16(b)(3) for Issuance of Scheduling Order
                                     Modifying Extent Of Discovery, ECF No. 274; and
                   3
                   4               • Pages 3 and 7-15 of Plaintiffs’ Reply Memorandum in Support of
                                     Motion Pursuant to Rule 16(b)(3) for Scheduling Order Modifying
                   5                 Discovery, ECF No. 278.
                   6
                             United anticipates that it will address the implications of Azar for this case in
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                       future motions practice, and thus does not present argument on those implications
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                       here. If the Court would like additional briefing about Azar in connection with the
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                       currently pending motions, however, United would be happy to provide such
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                       briefing.
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                       Dated: September 7, 2018                   LATHAM & WATKINS LLP
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              19                                                  By /s/ David J. Schindler
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                                                                                STATEMENT OF RECENT DECISION
ATTORNEYS AT LAW
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